       Case 1:10-cr-00287-AWI Document 244 Filed 10/28/15 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      Case No.: 1:10-cr-00287-AWI-2
12                   Plaintiff,                     ORDER RE REQUEST FOR COUNSEL
                                                    (Doc. 243)
13            v.

14   RAFAEL MENDEZ ESPARZA,

15                   Defendant.

16
              The Court is in receipt of Defendant’s pro se request for counsel to assist Defendant in the
17
     filing of a motion to reduce sentence pursuant to Title 18, United States Code, Section 3582(c)(2)
18
     (“Section 3582 Motion”). Pursuant to Eastern District of California General Order 546, the
19
     Federal Defender’s Office (“FDO”) is hereby appointed to represent Defendant in this matter.
20
     Should the FDO determine it is not appropriate for the FDO to file a Section 3582 Motion on
21
     behalf of Defendant, Defendant is entitled to file such a motion pro se. The Court will not
22
     construe Defendant’s request for counsel as a Section 3582 Motion.
23

24
     IT IS SO ORDERED.
25
     Dated:    October 27, 2015
26                                                SENIOR DISTRICT JUDGE
27

28
